       Case 2:21-cv-01530-AMM Document 290 Filed 09/13/23 Page 1 of 1                   FILED
                                                                               2023 Sep-13 AM 11:52
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA
                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION




 EVAN MILLIGAN, et al.,                 )
                                        )
      Plaintiffs,                       )
                                        )
 v.                                     )
                                                Case No.: 2:21-cv-1530-AMM
                                        )
 WES ALLEN, in his official             )
                                                 THREE-JUDGE COURT
 capacity as Alabama Secretary of       )
 State, et al.,                         )
                                        )
      Defendants.                       )


                                     ORDER

      Due to a clerical error, the appeal fee paid in this case on January 25, 2022

(see Doc. 108) must be refunded to the Office of the Attorney General. Accordingly,

the Clerk of the Court is DIRECTED to refund $505 to the Office of the Attorney

General by mailing a check in that amount to:


      Office of the Attorney General
      501 Washington Avenue
      Montgomery, AL 36104

      DONE and ORDERED this 13th day of September, 2023.



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE
